
6 N.Y.2d 756 (1959)
Yonkers Raceway, Inc., Respondent,
v.
National Union Fire Insurance Company of Pittsburgh, Pa., et al., Appellants.
Court of Appeals of the State of New York.
Argued February 25, 1959.
Decided April 17, 1959.
David A. Ticktin for appellants.
John C. Marbach and Louis Haimoff for respondent.
Concur: Judges DESMOND, DYE, FULD and BURKE. Judges FROESSEL and VAN VOORHIS dissent and vote to reverse upon the dissenting opinion of NOLAN, P. J., in the Appellate Division. Taking no part: Chief Judge CONWAY.
Order affirmed, with costs. Question certified answered in the affirmative. No opinion.
